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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

    In re:                                                          )
                                                                    ) Chapter 15
    GEDEN HOLDINGS, LTD.,                                           )
                                                                    ) Case No. 25-90138 (ARP)
                     Debtor in a Foreign Proceeding.                )
                                                                    )
                                                                    )

             ADVANTAGE AWARD SHIPPING LLC’S WITNESS AND EXHIBIT LIST

             Advantage Award Shipping, LLC (“Advantage Award”) 1 hereby submits the following

Witness and Exhibit List (the “Witness and Exhibit List”) with respect to the hearing scheduled on

June 4, 2025 at 11:00 a.m. (CT), in the above-captioned bankruptcy case (the “Case”), pending

before the Honorable Alfredo R. Perez, United States Bankruptcy Judge, Courtroom 400, 515

Rusk, Houston, Texas 77002.

                                                WITNESS LIST

             Advantage Award may call the following witnesses:

             1.     Dr. Reuben Balzan, Liquidator of Geden Holdings, Ltd.

             2.     Any witness listed, offered, or called by any other party.

             3.     Any witness necessary for rebuttal.




1
  Under Local Rule 9027-3, Advantage does not consent to entry of final orders or judgments by the bankruptcy judge.
Advantage appears in this matter for the sole purpose of opposing recognition. By so appearing, Advantage: (a) does
not submit to the jurisdiction of this Court or the U.S. District Court for the Southern District of Texas under one or
more of 28 U.S.C. §§ 157, 1334, and 1452 (together, the “Bankruptcy Court”); (b) does not waive any argument
that the Bankruptcy Court lacks jurisdiction over Advantage or any disputes between Advantage on the one hand and
the Liquidator (as defined above) and any other party to this proceeding on the other hand; and (c) does not waive any
argument regarding the referral of any matter from the United States District Court to the United States Bankruptcy
Court, or any argument for or against removal, remand, or abstention.

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                                                   EXHIBIT LIST

      Exhibit                     Description                       Offered   Objection   Admitted    Disposition
       No.                                                                                           After Hearing
                 Original Verified Complaint in Eclipse
                 Liquidity, Inc. v. Avor Navigation Ltd., et al.,
 1.              Case No. 4:15-cv-01645 (S.D. Tex.)
                 {Exhibit 1 to Request for Judicial Notice
                 [Docket No. 24] (the “RJN”)}
                 Original Verified Complaint in Tank Punk,
                 Inc. v. Spike Shipping Ltd., Case No. 4:15-
 2.
                 cv-01675 (S.D. Tex.)
                 {Exhibit 2 to RJN}
                 Original Verified Complaint in Psara
                 Energy, Ltd. v. Space Shipping, Ltd., Case
 3.
                 No. 4:15-cv-01673 (S.D. Tex.)
                 {Exhibit 3 to RJN}
                 S.D. Tex. Consolidation Order
 4.
                 {Exhibit 4 to RJN}
                 Memorandum          and     Recommendation
                 Granting Defendants’ Amended Motion to
 5.
                 Vacate Attachments and Dismiss
                 {Exhibit 5 to RJN}
                 Final Judgment dated November 23, 2016
 6.
                 {Exhibit 6 to RJN}
                 Original Verified Complaint filed in Tank
                 Punk, Inc. v. Spike Shipping Ltd., Case No.
 7.
                 1:15-cv-00461-MAC (“Tank II”)
                 {Exhibit 7 to RJN}
                 Amended Order of Dismissal and Directing
 8.              the Release of Security in Tank II
                 {Exhibit 8 to RJN}
                 Original Verified Complaint in Psara
                 Energy, Ltd. v. Space Shipping, Ltd., Case
 9.
                 No. 1:15-cv-00355 (E.D. Tex.) (“Psara II”)
                 {Exhibit 9 to RJN}
                 Order of Dismissal in Psara II
 10.
                 {Exhibit 10 to RJN}
                 Plaintiff’s Original Verified Complaint in
                 Psara Energy, Ltd. v. Space Shipping, Ltd.,
 11.             Case No. 2:16-cv-04840-WB (E.D. Pa.)
                 (“Psara III”)
                 {Exhibit 11 to RJN}
                 Order issued in Psara III on January 3, 2017
 12.
                 {Exhibit 12 to RJN}
                 Original Verified Complaint in Psara
                 Energy, Ltd. v. Space Shipping, Ltd., Case
 13.             No. 2:16-cv-01305-SM-MBN (E.D. La.)
                 (“Psara IV”)
                 {Exhibit 13 to RJN}
                 Order issued in Psara IV on January 6, 2017
 14.
                 {Exhibit 14 to RJN}




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                 Plaintiff’s Original Verified Complaint in
                 Psara Energy, Ltd. v. Space Shipping, Ltd.,
 15.             Case No. 1:18-cv-00178 (E.D. Tex.) (“Psara
                 V”)
                 {Exhibit 15 to RJN}
                 Order of Dismissal in Psara V and Psara VI
 16.             (as defined below) on February 10, 2021
                 {Exhibit 16 to RJN}
                 Original Verified Complaint in Psara
                 Energy, Ltd. v. Space Shipping, Ltd., Case
 17.
                 No. 2:18-cv-04111 (“Psara VI”)
                 {Exhibit 17 to RJN}
                 Order and Reasons
 18.
                 {Exhibit 18 to RJN}
                 Plaintiff’s Original Verified in Psara Energy,
                 Ltd. v. Space Shipping, Ltd., Case No. 3:20-
 19.
                 cv-04102 (N.D. Cal.) (“Psara VII”)
                 {Exhibit 19 to RJN}
                 Order Transferring Case
 20.
                 {Exhibit 20 to RJN}
                 Order of Dismissal in Psara VII
 21.
                 {Exhibit 21 to RJN}
                 Original Complaint in Eclipse Liquidity, Inc.
                 v. Geden Holdings Ltd. et al., No. 200300816
 22.
                 (“Eclipse IIIa”)
                 {Exhibit 22 to RJN}
                 Answer and New Matter in Eclipse IIIa
 23.
                 {Exhibit 23 to RJN}
                 Original Complaint in Eclipse Liquidity, Inc.
                 v. Karahmehmet-Williams et al., No.
 24.
                 230602605 (“Eclipse IIIb”)
                 {Exhibit 24 to RJN}
                 Plaintiff’s Sur Reply to Corporate
                 Defendants’ Reply Brief in Support of Their
 25.
                 Preliminary Objections in Eclipse IIIb
                 {Exhibit 25 to RJN}
                 Appeal Opinion issued on April 23, 2024 in
 26.             Eclipse IIIa and Eclipse IIIb
                 {Exhibit 26 to RJN}
                 Order in Eclipse Liquidity, Inc. v. Geden
                 Holdings Ltd. et al., No. 587 EDA 2024
 27.
                 (Penn. Sup. Ct.) (the “PA Appeal”)
                 {Exhibit 27 to RJN}
                 Response of Reuben Balzan Liquidator of
                 Geden Holdings Ltd. to Order to Show Cause
 28.
                 in the PA Appeal
                 {Exhibit 28 to RJN}
                 Declaration of Advocate Reuben Balzan
 29.
                 {Exhibit 29 to RJN}
                 Order in the PA Appeal
 30.
                 {Exhibit 30 to RJN}
                 Petition for Allowance to Appeal Order of
                 the Superior Court filed with the Supreme
 31.
                 Court of Pennsylvania on June 4, 2024
                 {Exhibit 31 to RJN}


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                  Order of the Supreme Court of Pennsylvania
    32.
                  {Exhibit 32 to RJN}
                  Petition of Reuben Balzan on Behalf of
                  Petitioner Geden Holdings, Ltd. in
    33.           Liquidation for the Court to Exercise
                  Jurisdiction Under 42 PA. C.S. 726
                  {Exhibit 33 to RJN}
                  Order of the Supreme Court of Pennsylvania
    34.
                  {Exhibit 34 to RJN}
    35.           October 9, 2024 Motion to Maltese Court 2
                  Any exhibits listed, designated, or offered by
    36.
                  any other party
    37.           Any exhibits necessary for rebuttal
                  Any pleading or other document filed with
                  the Court on the docket of the above-
    38.
                  captioned chapter 11 cases and related
                  adversary proceedings


           Advantage Award reserves the right to modify, amend or supplement this Witness and

Exhibit List at any time. Advantage Award reserves the right to ask the Court to take judicial

notice of pleadings, orders, transcripts and/or documents filed in or in connection with this Case,

to offer rebuttal exhibits, and to supplement or amend this Witness and Exhibit List at any time

prior to the June 4, 2025 hearing. Designation of any exhibit above does not waive any objections

Advantage Award may have to any exhibit listed on any other party’s exhibit list.




                                       (Remainder of page intentionally left blank)




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    Advantage Award is in the process of obtaining a certified translation of this Exhibit.
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Dated: June 2, 2025                   Respectfully submitted,
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                                       /s/ Steven W. Golden
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                                      and

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                                      Counsel for Advantage Award Shipping, LLC




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 2, 2025, a true and correct copy of the above and
foregoing pleading was caused to be served electronically through this Court’s CM/ECF noticing
system on parties registered to receive electronic notices in this case pursuant to the Electronic
Filing Procedures in this District, including the United States Trustee and counsel for the Foreign
Representative.

                                                     /s/ Steven W. Golden
                                                     Steven W. Golden




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